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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )         4:05CR3019
                                          )
                   Plaintiff,             )
                                          )
      vs.                                 )
                                          )         ORDER
TERESA MARIE JONES,                       )
                                          )
                   Defendant.             )

      IT IS ORDERED that:

       (1) The defendant’s unopposed motion to continue sentencing (filing 105)
is granted;

       (2) Defendant Jones’ sentencing is continued to Friday, February 17, 2005,
at 12:00 noon, before the undersigned United States District Judge, in Courtroom No.
1, Robert V. Denney Federal Building and United States Courthouse, Lincoln,
Nebraska. Since this is a criminal case, the defendant shall be present unless excused
by the court.

      December 9, 2005.                       BY THE COURT:

                                              s/ Richard G. Kopf
                                              United States District Judge
